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September 14, 2018


Via FedEx and Email

Michael J. Frola
Division Director
Multi-Regional and Foreign School Participation Division
Federal Student Aid
U.S. Department of Education
830 First Street, NE
Union Center Plaza, Mail Stop 5340
Washington, DC 20202

Dear Mr. Frola:

As the Department requested, this letter provides the basis for the information that Grand Canyon University
(“GCU”) designated in its August 31, 2018 submission to the DOE as confidential business information that
is exempt from disclosure under Exemption 4 of the Freedom of Information Act (“FOIA”). We have provided
this letter in advance of any specific FOIA request that would cover disclosure of the information we
submitted to the DOE.

We specifically request that you notify GCU of any such request for disclosure, as provided for by 34 C.F.R.
§ 5.11(d). We also reserve our right to object to such disclosure in response to a specific request, as
provided for by 34 C.F.R. § 5.11(e).

Exemption 4 of FOIA protects “trade secrets and commercial or financial information obtained from a person
and privileged or confidential.” 5 U.S.C. § 552(b)(4). Our approach was to designate very narrow categories
of information as exempt. We have only designated information that specifically relates to the business
practices and operation and financial relationships of GCU, or information that pertains to the compensation
of individuals. In all cases, the information is highly confidential. The release of any of this information
would cause substantial harm to GCU’s competitive position by allowing its competitors access to sensitive
pricing or similar information, or cause harm to individuals whose compensation information is personal and
of no legitimate public interest.

Each category of designated information therefore qualifies as commercial or financial information, as
explained below:

    •   Schedules 2.1(b) (“Personal Property”), 2.1(c) (“Assumed Contracts”), 5.1(f) (“Certain Employee
        Matters), 6.3(a)-1 (“Transferred Employees), and 6.3(a)-2 (“Retained Employees”) to the Asset
        Purchase Agreement: We believe each of these schedules contains confidential commercial
        information because they identify detailed confidential property holdings and confidential contracts
        with key employees, vendors and university partners that are critical to GCU’s business operations,
        as well as the names and titles of individual employees. Public disclosure of this information would
        substantially harm GCU and provide its competitors with sensitive information that could be utilized


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        to identify and solicit key employees and partners in a manner that is detrimental to GCU. It would
        also result in the release of the personal information of employees that is of no public interest.
    •   Master Services Agreement, Highlighted Information on Exhibit B: Exhibit B contains information
        describing the services to be provided under the agreement including, in particular, services that
        are being provided on an exclusive basis and sensitive critical, negotiated metrics that define the
        specific service levels required by GCU. We have designated certain highlighted information as
        confidential that relates to services unique to the business operations of GCU and key negotiated
        terms that could be used in a competitive manner to the detriment of the University. Release of
        this information would result in substantial harm to GCU’s competitive position by providing its
        competitors with sensitive, confidential information about GCU’s business practices.
    •   Master Services Agreement, Highlighted Information on Exhibit D: Exhibit D contains confidential
        information related to the negotiated pricing and payment of services. We have designated certain
        highlighted information as confidential. Release of this information would result in substantial harm
        to GCU’s competitive position by providing its competitors with sensitive information about GCU’s
        pricing and critical business practices.
    •   Deloitte Transfer Pricing Study, Highlighted Information: The highlighted information in the transfer
        pricing study is highly confidential information about the critical business practices and financial
        condition of GCU including, in particular, sensitive competitive business information that GCU
        utilizes to ensure its students receive the best possible educational experience, key competitive
        risks, and detailed competitive financial information. Release of this information would result in
        substantial harm to GCU’s competitive position by providing its competitors with sensitive
        information about GCU’s business practices and financial condition.
    •   Hurd Final Valuation Report, Highlighted Information: The highlighted information in this valuation
        is highly confidential information related to the appraisal of certain GCU land and residence halls.
        Release of this information would result in substantial harm to GCU’s competitive position by
        providing its competitors with sensitive information about GCU’s business practices and financial
        condition.
    •   Johnson Valuation Report, Highlighted Information: The highlighted information in this valuation is
        highly confidential information related to the appraisal of certain GCU personal property. Release
        of this information would result in substantial harm to GCU’s competitive position by providing its
        competitors with sensitive information about GCU’s business practices and financial condition.
    •   Kotzin Valuation Report, Highlighted Information: The highlighted information in this valuation is
        highly confidential information related to the appraisal of certain GCU intangible assets. Release
        of this information would result in substantial harm to GCU’s competitive position by providing its
        competitors with sensitive information about GCU’s business practices and financial condition.
    •   GCU Compensation Study and Compensation Business Judgment Factors, Full Documents: The
        compensation study is confidential in its entirety because it describes information of a personal
        nature, including individual compensation that is of no legitimate public interest, as well as the
        identification of key GCU employees that could be utilized by competitors to GCU’s detriment.

We appreciate your careful review of these disclosures, and respectfully request notification of any specific
FOIA request for this material and an opportunity to object to such disclosure. If you have any questions
regarding this subject or the University’s plans going forward, please feel free to contact me at 202-776-
2691, or via email at jglass@cooley.com.




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Sincerely,




Jonathon C. Glass

cc:     Donna Mangold, U.S. Department of Education, Office of General Counsel




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